Case 0:19-cv-62335-RS Document 29 Entered on FLSD Docket 10/20/2020 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 19-62335-CIV-SMITH

 CHARLENE ROSA, a/k/a
 CHARLENE TERRY-ANN
 WALKER ROSA,

         Petitioner,

 v.

 STATE OF FLORIDA,

       Respondent.
 __________________________/

                 ORDER AFFIRMING REPORT AND RECOMMENDATION
         This matter is before the Court on the Report and Recommendation of the Magistrate Judge

 (“Report”) [DE 26] and Petitioner, Charlene Rosa’s Objections [DE 28]. The Report recommends

 denying Petitioner’s Motion for Leave to Appeal In Forma Pauperis (“Motion”) [DE 24] because

 Petitioner failed to submit documentation required by law to establish her indigency and,

 alternatively, the appeal is not taken in good faith for the reasons set forth in the Magistrate Judge’s

 September 30, 2019 Report and Recommendation recommending that the Petition be dismissed.

         In her Objections, Petitioner apparently suggests that the required documentation was filed

 in support of her Motion. (See Objs, at 10-11.) But the record reveals they were not filed with the

 Motion. (See DE 24.) More importantly, however, Petitioner fails to show that the Magistrate

 Judge erred in finding that the appeal is not taken in good faith. See 28 U.S.C. § 1915(a)(3) (“An

 appeal may not be taken in forma pauperis if the trial court certifies in writing that it is not taken

 in good faith.”). As the Magistrate Judge notes, Petitioner has been a prolific filer in both federal

 and state courts, including having already challenged her conviction and sentence in this Court.

 (See R. & R. [DE 8] at 1-2; R. & R. [DE 26] at 1-2.) Here, to show good faith, Petitioner raises
Case 0:19-cv-62335-RS Document 29 Entered on FLSD Docket 10/20/2020 Page 2 of 2




 similar arguments to those previously made and rejected by this Court. (See Objs. [DE 10]; Order

 [DE 18].) Therefore, after careful consideration, it is

        ORDERED:

            1. The Report and Recommendation [DE 26] is AFFIRMED AND ADOPTED and,

 thus, Petitioner’s Motion for Leave to Appeal In Forma Pauperis [DE 24] is DENIED.

            2. Petitioner’s Objections [DE 28] are OVERRULED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 20th day of October 2020.




 Copies to:
 All parties of record
